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 8                        UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,            No.   2:12-cr-00315 JAM
12                 Plaintiff,
13        v.                              ORDER GRANTING WAIVER OF
                                          INEFFECTIVE ASSISTANCE OF
14   LEE LOOMIS,                          COUNSEL CLAIM IN MOTION TO
                                          WITHDRAW GUILTY PLEA
15                 Defendant.
16

17        For good cause showing and based on the record before the

18   Court, the Court hereby finds that defendant Lee Loomis

19   (“Loomis”) through the claim of ineffective assistance of counsel

20   made in his pending motion to withdraw his guilty plea, initially

21   waived the attorney-client privilege with respect to any

22   discussions he had with his attorneys Kresta Daly and David

23   Fischer, as well as their advice or strategy, concerning their

24   representation of Loomis in this case.        However, on January 20,

25   2017 Loomis filed his “Response to Government’s Application

26   . . . “ (ECF No. 463) in which he specifically waived his claim

27   of ineffective assistance of counsel “as a ‘fair and just’ reason

28   for the Court to consider in its decision to grant or deny [his]
                                         1
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 1   pending motion to withdraw plea.”

 2        The Court finds that Loomis’ waiver is knowingly,

 3   intelligently and voluntarily made. Accordingly, there is no need

 4   for the government to seek or obtain any information from

 5   attorneys Kresta Daly and David Fischer regarding the ineffective

 6   assistance of counsel claim raised by Loomis since that claim has

 7   now been waived and will not be considered by the Court.

 8        The Court further finds that there is no need for the United

 9   States to supplement its Opposition to Loomis’ motion to withdraw
10   his guilty plea (ECF No. 438).      Loomis will submit his reply to
11   the United States’ Opposition on or before February 3, 2017.      A
12   hearing on the motion to withdraw guilty plea is set for Tuesday,
13   February 21, 2017 at 11:00 a.m.
14        IT IS SO ORDERED.
15   Dated:   January 23, 2017
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